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 4
     Attorney for Defendant, PAUL WHITMORE
 5
 6                           UNITED STATES DISTRICT COURT
 7                          EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )                CASE NO: CRF-02-5301 OWW
                                 )
10            Plaintiff,         )
                                 )                STIPULATION AND ORDER
11        v.                     )                TO CONTINUE HEARING ON
                                 )                DEFENDANT’S MOTION TO
12   PAUL WHITMORE,              )                VACATE FEDERAL CONVICTION
                                 )
13            Defendant.         )
     ____________________________)
14
           The parties hereto, by and through their respective attorneys, stipulate and
15
     agree that the hearing scheduled for June 11, 2007 be continued until July 23,
16
     2007 at 9:00 a.m. in the above-entitled court.
17
           The parties agree to the following briefing schedule: Defendant Paul
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     Whitmore shall have until June 22, 2007 to file any pleading opposing the
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     government’s response to Mr. Whitmore’s motion to withdraw his jury trial waiver.
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     The government shall have until July 11, 2007 to submit any pleading opposing or
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     responding to Mr. Whitmore’s submission.
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           It is agreed that the hearing on Mr. Whitmore’s motion, as well as sentencing
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     in this matter, should the same become necessary, be continued to July 23, 2007.
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           This stipulation is necessitated by multiple obligations, and deadlines, facing
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     defense counsel for Mr. Whitmore. The additional time will allow counsel for Mr.
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     Whitmore to effectively represent him at the hearing, and should it become
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     necessary, at his sentencing.
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 1        The parties also agree that any delay resulting from this continuance shall
 2   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
 3   3161(h)(8)(A) and 3161(h)(8)(B)(I).
 4
     DATED: May 29, 2007                /s/ David Gappa                  __
 5                                      DAVID GAPPA
                                        Assistant United States Attorney
 6                                      This was agreed to by Mr. Gappa
                                        via telephone, on May 25, 2007
 7
 8
     DATED: May 29, 2007                /s/ Roger K. Litman
 9                                      ROGER K. LITMAN
                                        Attorney for Defendant
10                                      PAUL WHITMORE
11
12
                                         ORDER
13
          The court having considered the stipulation of the parties and GOOD CAUSE
14
     APPEARING, the court now orders that the sentencing hearing currently scheduled
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     for June 11, 2007, be continued to July 23, 2007 at 9:00 a.m.
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     IT IS SO ORDERED.
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     Dated: May 31, 2007                     /s/ Oliver W. Wanger
19   emm0d6                             UNITED STATES DISTRICT JUDGE
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